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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

WILDEARTH GUARDIANS, et al.              )   Case No. 9:19-cv-0056-DWM
                                         )
      v.                                 )
                                         )
CHIP WEBER, et al.                       )
                                         )
                                         )
SWAN VIEW COALITION, et al.              )   Case No. 9:19-cv-0060-DLC
                                         )
      v.                                 )   DEFENDANTS’ MOTION TO
                                         )   CONSOLIDATE
DAVID BERNHARDT, et al.                  )
                                         )
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      Defendants move to consolidate WildEarth Guardians, et al. v. Chip Weber,

et al., No. 9:19-cv-0056-DWM, with Swan View Coalition, et al. v. Bernhardt, et

al., No. 9:19-cv-0060-DLC. Counsel for Defendants conferred with counsel for

the other parties. The WildEarth Guardians Plaintiffs do not oppose this motion.

The Swan View Coalition Plaintiffs take no position on this motion.

      Rule 42(a) of the Federal Rules of Civil Procedure permits the Court to

consolidate cases which, in the Court’s judgment, involve common questions of

law or fact. Fed. R. Civ. P. 42(a)(2). The Court has “broad discretion” under Rule

42(a) “to consolidate cases pending in the same district.” Inv’rs Research Co. v.

U.S. Dist. Ct. for Cent. Dist. of Cal., 877 F.2d 777, 777 (9th Cir. 1989). In

exercising this discretion, the Court “balance[s] the interest of judicial convenience

against the potential for delay, confusion and prejudice that may result from such

consolidation.” Sadler v. Dutton, No. CV-16-0083-H-DLC-JTJ, 2017 WL

3217119 at *1 (D. Mont. June 1, 2017) (citation omitted).

      Both actions challenge the U.S. Forest Service’s 2018 Land Management

Plan (“Forest Plan”) for the Flathead National Forest. The Swan View Coalition

complaint identifies the earlier filed WildEarth Guardians action as a related case.

Swan View Coalition, No. 9:19-cv-0060, ECF No. 1-1. The administrative record

for both actions will be the same. There also is some overlap in the allegations in
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the two complaints. The WildEarth Guardians action currently alleges violations

of the Forest Planning Rules (Claim One), National Environmental Policy Act

(“NEPA”) (Claim Two), and Travel Management Rule, Forest Planning

Regulations, and Executive Order 11644 (Claim Three). The Swan View Coalition

action currently alleges violations of NEPA (Claims One and Two) and the

Endangered Species Act (“ESA”) (Claims Three and Four). The deadline to

amend pleadings has not passed, so there may be additional overlap between the

two complaints. The WildEarth Guardians Plaintiffs state that they intend to

amend their Complaint. ECF No. 15 at 2. Defendants have not responded to either

of the complaints.

      Consolidating the two actions will conserve judicial resources, as the Court

will manage the cases as one action instead of two separate actions. Both cases are

early in the litigation process, and no case management plan has been entered in

either of the actions. Consolidating the two actions will also reduce confusion and

delay, since there will be one consolidated action on the same schedule instead of

two actions on separate schedules. There is no prejudice since the WildEarth

Guardian Plaintiffs do not oppose this motion and the Swan View Coalition

Plaintiffs take no position on the motion.

      The two cases are before different judges. While there is no local rule that
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provides for transferring a case between different judges in the same division, there

is no prohibition, either. Federal courts have broad inherent powers to manage

their dockets to achieve the orderly and expeditious disposition of cases. See Link

v. Wabash R. Co., 370 U.S. 626, 630-31 (1962) (Rule 41 dismissal); Landis v. N.

American Co., 299 U.S. 248, 256 (1936) (stay of proceedings); Inv’rs Research

Co., 877 F.2d at 777 (Rule 42 consolidation). If the two cases are not decided by

the same judge, there is a risk of inconsistent decisions for the same or similar

claims challenging the same Forest Plan. Therefore, Defendants respectfully

request that the two cases be adjudicated before the same judge.

      For the foregoing reasons, Defendants respectfully move to consolidate the

two actions. In accordance with this Court’s June 13, 2019 Order, the parties will

file a joint case management plan by July 23, 2019. A proposed order is attached

hereto and will be emailed to chambers.



      Respectfully submitted on this 24th day of June, 2019.

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                                  Environment and Natural Resources Division
                                  United States Department of Justice

                                  /s/ John P. Tustin
                                  JOHN P. TUSTIN, Senior Attorney
                                  Natural Resources Section
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